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                             IN TUE UN lTED STATES D1STRICT COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

     DR. ORIEN L. TULP AND CARLA KONYK.,

                         Plaintiffs.                       Civil Action No. 19-02779

             V.                                            Honorable Wendy Beetlestone

     F.DUCA TTONAL COMMTSSJON FOR
     FOREIGN MEDICAL GRADUATES,

                         Defendant.


                                                SJJPlJLATJON

             A.."\ID NOWt this 8th day ofJuly 2019, it is hereby STIPULATED and AGREED by and

     between the undersigned counsel for Plaintiffs Dr. Orien L. Tulp and Carla Kooyk, and

     Defendant Educational Commission for Foreign Medical Grnduatcs ("ECFMG"), that the

     dead1in~ for ECFMG to answer,     1110Ye   or otherwise respond to Plaintiffs' Complaint   1s   hereby

     extended from July )9, 2019 until and including August 19, 2019. In support ofthis stipulation.

     the pa11ies state as foJlows:

              1.     On June 25, 2019, Plaintiffs filed a Complaint in C1v1I Action No. 19-02779,

     marking the matter as related to terminated case Civii-Action No. 18-5540.
            .....
           2.     On June 28, 2019, Plaintins seived ECFMG with Summon:;; and the Complaint.

              3.     Pursuant to Federal Rule of Civil Procedure 12(a)(l )(A), the deadline for ECFMG

     to aiuiwer or respond to Plaintiffs' Complaint is presently July 19, 2019

             4.      ECFMG requested, and Plaintiffs have consented to, a. limited 30-day extension to

     allow sufficient time for ECFMG to anRwer. move or otherwise respond to Plaintiffs' Complail1t.

              5.     This extension would have no effect on other existing deadlines.
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                      Wherefore, the parties ·hereby stipulntc that the deadline for ECFMG to answer or

               respond lo Plaintiffs' Complaint is extended until and including Augusl 19, 20 I9.


               Dated: July 8, 2019



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